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SAO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 1 TXND Mod - 09/28/04

UNITED STATES DISTRICT COURT

Northern  Districtof Texas - Dallas Division

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
Case Number: 3:10-CR-297-K (01) Se
MONTE MELUGIN US.DISTRICT COURT
USM Number: 42517-177 NORTHERN DISTRICT OF TEXAS
Mick Mickelsen FILED _.
Defendant’s Attorney
THE DEFENDANT: ~
WR 520 | 02
[ | pleaded guilty to count(s) a“

pleaded guilty to count(s) before a U.S. to the One Count Information, filed on October 22, 2010 CLERK.US DISTRICT EYURT
Magistrate Judge, which was accepted By , €
by the court. Deputy .

pleaded nolo contendere to count(s)
which was accepted by the court.

was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 USC § 2252(a)(2) Receipt of Child Pornography October 15, 2007 1

The defendant is sentenced as provided in pages 2 through 1 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

The defendant has been found not guilty on count(s)

[is [| are dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

March 30, 2011 a2} Lf fo
Date of Imposition of Judg t (/_ if
f /,
Signature of Judge ° UY —=
ED KINKEADE

UNITED STATES DISTRICT JUDGE

Name and Tith of Jpdge
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Date
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AO 245B (Rev. 12/03) Judgment in Criminal Case
Sheet 2— Imprisonment TXND Mod - 9/28/04

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DEFENDANT: MONTE MELUGIN
CASE NUMBER:3:10-CR-297-K (01)

IMPRISONMENT

Pursuant to the Sentencing Reform Act of 1984, but taking the Guidelines as advisory pursuant to United States v. Booker, and
considering the factors set forth in 18 U.S.C. Section 3553(a), the defendant is hereby committed to the custody of the United States Bureau
of Prisons to be imprisoned for a total term of: ONE HUNDRED-FORTY FOUR (144) Months.

The court makes the following recommendations to the Bureau of Prisons:

It is recommended that the defendant be designated to a facility where he will undergo sex offender treatment. The Court
further recommends the Bureau of Prisons furnish a comprehensive mental health evaluation and treatment
recommendations to the probation officer upon his release from custody, to assist the probation officer with sex offender
treatment and community treatment referrals.

[| The defendant is remanded to the custody of the United States Marshal.

[| The defendant shall surrender to the United States Marshal for this district:

[| at [ Jam. [_] pm. on

[| as notified by the United States Marshal.

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
before 2:00 p.m. on April 27, 2011

|| as notified by the United States Marshal.

[ | as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 12/03) Judgment in a Criminal Case

Sheet 3 — Supervised Release

Judgment—Page 3 of 7

DEFENDANT: MONTE MELUGIN
CASE NUMBER: 3:10-CR-297-K (01)

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of : LIFE.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the

custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

LJ ONIN!

Schedule o

The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions

on the attached page.

10)

11)
12)

13)

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 3C — Supervised Release

Judgment—Page 4 of 7

DEFENDANT: MONTE MELUGIN
CASE NUMBER: 3:10-CR-297-K (01)

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation Officer, as
authorized by the Justice for All Act of 2004.

The defendant shall participate in sex offender treatment services as directed by the U.S. Probation Officer
until successfully discharged. These services may include psycho-physiological testing (i.e. clinical
polygraph, plethysmograph, and the ABEL screen) to monitor the defendant’s compliance, treatment
progress, and risk to the community. The defendant shall contribute to the costs of services rendered
(copayment) at a rate of at least $10.00 per month.

The defendant shall neither possess nor have under his control any sexually oriented, or sexually stimulating
materials of adults or children. This may include visual, auditory, telephonic, or electronic media, email,
chat communications, instant messaging, or computer programs. The defendant shall not patronize any

place where such material or entertainment is available. The defendant shall not use any sex-related
telephone numbers.

The defendant shall register with State and local law enforcement as directed by the U.S. Probation Officer
in each jurisdiction where the defendant resides, is employed, or is a student. The defendant shall provide
all information required in accordance with State registration guidelines. Initial registration shall be
completed within 3 business days after release from confinement. The defendant shall provide written
verification of registration to the U.S. Probation Officer within 3 business days following registration. This
registration shall be renewed as required by the defendant's assigned tier. The defendant shall, no later than
3 business days after each change of name, residence, employment, or student status, appear in person in at
least one jurisdiction and inform that jurisdiction of all changes in the information required in the sex
offender registry.

The defendant shall no have any form of unsupervised contact with persons under the age of 18 at any
location, including but not limited to, the defendant's residence, place of employment, and public places

where minors frequent or congregate, without prior permission of the U.S. Probation Officer.

The defendant shall not have access to a computer, cellular device or any electronic equipment that allows
access to the internet, without the express permission of the Court.

The defendant shall not have access to the internet, without the express permission of the Court.

The defendant shall not use or possess any gaming consoles (including, but not limited to Xbox, PlayStation,
Nintendo), or devices without the express permission of the Court.
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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties TXND Mod 2 - 09/28/04

Judgment — Page 5 of 7

DEFENDANT: MONTE MELUGIN
CASE NUMBER: 3:10-CR-297-K (01)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ $ N/A
The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

The defendant must make restitution (including community restitution), payable to the U.S. District Clerk to be disbursed to the
following payee(s) in the amount(s) listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all non federal victims must be paid
before the United States is paid.

Name of Payee Restitution Ordered Priority or Percentage
TOTALS $

[ | Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). Allof the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[| The court determined that the defendant does not have the ability to pay interest and it is ordered that:

[| the interest requirement is waived for the [| fine [ | restitution.

[| the interest requirement for the [| fine [__|restitution is modified as follows:
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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments TXND Mod } - 09/28/04

Judgment — Page 6 of 7

DEFENDANT: MONTE MELUGIN
CASE NUMBER: 3:10-CR-297-K (01)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A [| Lump sum payment of $ due immediately, balance due
not later than , or
in accordance Cc, D, E, or [|r below; or
B Payment to begin immediately (may be combined with [ C, [ ]p. or [| below); or
Cc Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

NO oO LU

Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the defendant shall pay to the United States a special assessment of $100.00, which shall be due
immediately. Said special assessment shall be made to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to the U.S. District Clerk, 1100 Commerce Street, 14th Floor, Dallas, Texas 75242.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[| Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

[ | The defendant shall pay the cost of prosecution.
[| The defendant shall pay the following court cost(s):

The defendant shall forfeit the defendant’s interest in the following property to the United States: See Sheet 6B.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 6B — Schedule of Payments

Judgment—Page 7 of

DEFENDANT: MONTE MELUGIN
CASE NUMBER: 3:10-CR-297-K (01)

ADDITIONAL FORFEITED PROPERTY

It is hereby ordered, adjudged, and decreed that the Defendant's interest in the following property is
forfeited to the United States of America pursuant to 21 U.S.C. § 853(n):

a. One iMac computer and hard drive, serial number W88373TY ZE4.
